                Case 1:06-cr-00033-OWW Document 37 Filed 06/22/06 Page 1 of 1

                                                                                               ISSUED
After recording return to:
United S t a t e s Attorney
Attn:        F i n a n c i a l L i t i g a t i o n Unit
501 I S t r e e t , S u i t e 10-100
S a c r a m e n t o , CA 95814


                                             UNITED STATES DISTRICT COURT
                                            EASTERN DISTRICT OF CALIFORNIA

                                                    ABSTRACT OF JUDGMENT

            P u r s u a n t t o T i t l e 2 8 , U n i t e d S t a t e s Code, S e c t i o n 3 2 0 1 , t h i s j u d g m e n t , upon
t h e f i l i n g o f t h i s a b s t r a c t i n t h e manner i n which a n o t i c e o f t a x l i e n would b e
f i l e d u n d e r p a r a g r a p h s ( 1 ) a n d ( 2 ) of 2 6 U.S.C. § 6 3 2 3 ( f ) , c r e a t e s a l i e n o n a l l
r e a l p r o p e r t y o f t h e d e f e n d a n t ( s ) and h a s p r i o r i t y o v e r a l l o t h e r l i e n s o r
encumbrances which a r e p e r f e c t e d l a t e r i n t i m e .                 The l i e n c r e a t e d b y t h i s s e c t i o n
i s e f f e c t i v e , u n l e s s s a t i s f i e d , f o r a p e r i o d o f 2 0 y e a r s a n d may b e r e n e w e d b y
f i l i n g a n o t i c e of renewal.               I f such n o t i c e of renewal i s f i l e d b e f o r e t h e
e x p i r a t i o n o f t h e 20 y e a r p e r i o d t o p r e v e n t t h e e x p i r a t i o n o f t h e l i e n a n d t h e
c o u r t a p p r o v e s t h e r e n e w a l , t h e l i e n s h a l l r e l a t e b a c k t o t h e d a t e t h e judgment
is filed.

         C a s e No.       1:05-MC-00033-LJO

         C a s e Name:        U.S.A.      v. Bradley A.         Dodenhoff,        D.C.

 Name a n d A d d r e s s o f P a r t y a g a i n s t whom            Name o f P a r t y i n whose f a v o r j u d g m e n t
 judgment h a s b e e n o b t a i n e d                               has been obtained
 B r a d l e y A. D o d e n h o f f , D.C.
 3025 C h r i s t m a s T r e e L a n e                               UNITED STATES OF AMERICA
 B a k e r s f i e l d , CA 9 3 3 0 6

 SSN: ***-**-6502


                                                                                                      When D o c k e t e d

 Principal                  $14,918.57          McGREGOR W . SCOTT                                    J u l y 8 , 2005
 Interest                        $0.00          United S t a t e s Attorney
 Costs                           $0.00          BOBBIE J . MONTOYA
 Court Fees                      $0.00          A s s i s t a n t U.S. A t t o r n e y
 Service Fees                    $0.00          5 0 1 I S t r e e t , S u i t e 10-100
                                                S a c r a m e n t o , CA 95814
 TOTAL                      $14,918.57          T e l : (916) 554-2726
I CERTIFY, That the foregoing is a correct Abstract of Judgment entered or
registered by this Court.

                               Date:            6 -2-2-66
                                                                                       , Clerk
                               By:                                                     , Deputy Clerk
                                      U.S. C i s t r i c t C o u r t
                                      2 5 0 0 T u l a r e S t r e e t , Room 1 5 0 1
                                      F r e s n o , CA 7 3 7 2 1
